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                                          DISTRICT ATTORNEY
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CYRUS R. VANCE, JR.
   DISTRICT ATTORNEY




                                                                       May 29, 2015
   BY MAIL AND EMAIL
   Ricardo Aguirre, Esq.
   Law Office of Ricardo A. Aguirre
   644 Soundview Avenue, Suite 6
   Bronx, New York 10473

                       Re:    Denise Diaz v. City of New York, et al., 13 Civ. 8281 (JCF)

   Dear Mr. Aguirre,

                  On behalf of defendant Investigator Jose Flores, I write to follow up
   on the status of defendant’s initial set of discovery requests, produce certain records,
   identify witnesses, serve a document request, and serve a notice of deposition for
   Sergeant Diaz.

                  First, I served you with a hardcopy of Inspector Flores’ First Set of
   Interrogatories and Document Requests at the initial conference on April 13, 2015.
   Under the Federal Rules, Sergeant Diaz’s responses were due on May 13, 2015.
   Please let me know when I can expect to receive the responses. Depending on
   Sergeant Diaz’s responses to various interrogatories and requests, I need to budget
   time to process releases and/or request further documents from third parties in
   advance of her deposition.

                  Second, in accordance with Inspector Flores’ continuing disclosure
   obligations under Federal Rule of Civil Procedure 26(e), enclosed please find the
   following: (1) a CD containing PDFs of documents, marked as D155 through D713
   and D727 through D746; and (2) twelve CDs containing various audio and text
   message files, marked as D715 through D726. 1 These documents and CDs were
   produced by the NYPD in response to DANY’s subpoena dated April 23, 2015.
   Together, they comprise the IAB file into the investigation of Sergeant Diaz.

                  As part of the IAB file, we received an 83-page packet with
   information on each arrest made by Sergeant Diaz over her career. The names, dates
   of birth, addresses, and telephone numbers of the arrestees are un-redacted. The
   packet does not contain any information on the disposition of the arrests, and
   1                   Defendant’s production skips D714. Nothing will be produced under that number.
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therefore I am unable to tell if the individuals listed are entitled to the protection of
CPL §§160.50 or 160.55. Accordingly, I am not producing the packet, nor will I be
relying on it in any manner in connection with Inspector Flores’ defense. Statistics
on the number and type of arrests made by Sergeant Diaz over her career can be
found in the IAB file on page D318.

               To date, I have not received anything else from the NYPD in response
to our subpoena. In the event I receive additional records, I will produce them
expeditiously.

              Third, and also in accordance with Rule 26(e), I am identifying the
following individuals likely to have discoverable information that Investigator Flores
may use to support his claims or defenses:

               1. Lieutenant Timothy Burke, Tax #895249, NYPD 43rd Precinct,
                  900 Fteley Ave., Bronx, New York, 10473 (present at plaintiff’s
                  house on November 24, 2010) 2

               2. Deputy Inspector Brandon DelPozo (formerly, Bronx Patrol Duty
                  Captain), Office of the Deputy Commissioner of Strategic
                  Initiatives, One Police Plaza, New York, New York 10038 (present
                  at plaintiff’s house and at the 43rd Precinct on November 24, 2010)

               3. Captain Peter Andrea, Tax #915231, NYPD 32nd Precinct, 250
                  West 135th Street, New York, New York, 10030 (present at the
                  43rd Precinct on November 24, 2010)

               Fourth, I am requesting, pursuant to Rules 26 and 34 of the Federal
Rules of Civil Procedure and Local Rule 26.3, production of a copy of the entries in
Sergeant Diaz’s memobook from November 24, 2010.

                Fifth, enclosed please find a notice of deposition for Sergeant Diaz for
a date in July, 2015. ADA O’Connor and I are available any day the week of July
20th through July 24th and any day the week of July 27th through July 31st. Please
let me know as soon as possible which dates over this two week period are agreeable
to you and Sergeant Diaz so that we can finalize the deposition.

              Finally, as is indicated throughout the IAB file, several representatives
of the NYPD responded to Sergeant Diaz’s home on the date of the incident
underlying this lawsuit, including Bronx Patrol Duty Captain (now, Deputy

2              Any communication with NYPD officers or other City employees
regarding the incident alleged in the pleadings, or this lawsuit generally, should be
made through Corporation Counsel’s Office.
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Inspector) Brandon DelPozo. Under the authority of Captain DelPozo, Sergeant
Diaz was placed on duty and transported to the 43rd Precinct to be interviewed by
representatives of IAB. See, e.g., D374. Given this new information, Sergeant Diaz
should consider withdrawing her false arrest claim against Inspector Flores. First,
Sergeant Diaz was not arrested and charged with a crime, and second, to the extent
Sergeant Diaz was detained, it was on the authority of the Police Department to
investigate the fitness of its own officers. See, e.g., Biehunk v. Felicetta, 441 F.2d 228 (2d
Cir. 1971), Gonzalez v. City of New York, 38 Fed. Appx. 62 (2d Cir. 2002).

              Please let me know whether this lawsuit can be resolved with a
withdrawal of Sergeant Diaz’s claims against Inspector Flores before we continue
with costly and time-consuming document and deposition discovery.


                                                      Very truly yours,

                                                             /s
                                                      Elizabeth N. Krasnow
                                                      Assistant District Attorney
                                                      (212) 335-4210



Encl. (Notice of deposition by email and mail; CDs by mail only)
